               Case 18-15691-CMG Doc 43-2 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
Certification OF ROBERT J. TOLCHIN ESQ. IN SUPPORT OF MOTION OF DIANA CAMPUZANO                           Page 1 of 4



           UNITED STATES BANKRUPTCY COURT
           DISTRICT OF NEW JERSEY
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           -and

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           Attorneys for Diana Campuzano, Avi Elishis,
           and Gregg Salzman

                                                                    Case No.:     18-15691 (CMG)
           In Re:
                                                                    Chapter:      11
           AMERICAN CENTER FOR CIVIL JUSTICE,                       Judge:        Christine M. Gravelle
           INC.
                                    Debtor-in Possession.           Hearing Date and Time:
                                                                    May 29, 2018 at 10:00 a.m.

                                                                    ORAL ARGUMENT REQUESTED


                      CERTIFICATION OF ROBERT J. TOLCHIN, ESQ. IN SUPPORT OF
                       MOTION OF DIANA CAMPUZANO, AVI ELISHIS AND GREGG
                        SALZMAN FOR APPOINTMENT OF CHAPTER 11 TRUSTEE
                       PURSUANT TO 11 U.S.C. § 1104(a) AND FED R. BANKR. P. 2007.1


                    I, Robert J Tolchin, Esq., of full age, certify as follows:
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                  1.      I am licensed to practice law in the States of New York and New Jersey, and am a

           member of the Bar of this Court. I am counsel to The Berkman Law Office, LLC, attorneys for

           the Movants herein, Diana Campuzano, Avi Elishis and Gregg Salzman (“Movants”) in this

           matter. I make this Certification in support of the within Motion of Diana Campuzano, Avi

           Elishis and Gregg Salzman for Appointment of a Chapter 11 Trustee Pursuant To 11 U.S.C.

           § 1104(a) and Fed R. Bankr. P. 2007.1 (the “Motion”).

                  2.      Annexed hereto as Exhibit A is a true copy of an order dated February 18, 2019 in

           Campuzano v. Sher, Supreme Court of the State of New York, Nassau County index number

           605379/16 (“Campuzano Litigation”).

                  3.      Annexed hereto as Exhibit B is true copy of the operative complaint in Engelberg

           v. Perr, Supreme Court of the State of New York, Nassau County index number 606919/14

           (“Engelberg Derivative Litigation”).

                  4.      Annexed hereto as Exhibit C is a true copy of the answer filed by defendants

           Eliezer Perr, Jedidiah Perr, and Milton Pollack in the Engelberg Derivative Litigation.

                  5.      Annexed hereto as Exhibit D is a true copy of the answer filed by defendant

           American Center for Civil Justice (“ACCJ”) in the Engelberg Derivative Litigation.

                  6.      Annexed hereto as Exhibit E is true copy of an agreement dated April 12, 2007

           between the American Center for Civil Justice and the American Center for Civil Justice,

           Religious Liberty and Tolerance, Inc.

                  7.      Annexed hereto as Exhibit F is true copy of an order entered April 23, 2015 in the

           Engelberg Derivative Litigation.

                  8.      Annexed hereto as Exhibit G is true copy an order entered June 22, 2016 in the

           Engelberg Derivative Litigation.
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                  9.      Annexed hereto as Exhibit H is true copy of an order entered May 19, 2017 in the

           Engelberg Derivative Litigation.

                  10.     Annexed hereto as Exhibit I is true copy of an order entered November 30, 2017

           in the Engelberg Derivative Litigation.

                  11.     Annexed hereto as Exhibit J is true copy of an order entered January 4, 2018 in

           the Campuzano Litigation.

                  12.     Annexed hereto as Exhibit K is true copy of a stipulation of settlement dated

           December 7, 2017 in the Engelberg Derivative Litigation.

                  13.     Annexed hereto as Exhibit L is true copy of transcript of the 341 meeting

           conducted in this proceeding on April 19, 2018.

                  14.     Annexed hereto as Exhibit M is true copy of the IRS Form 990 tax return filed by

           the American Center for Civil Justice, Religious Liberty and Tolerance, Inc. for tax year 2012.

                  15.     Annexed hereto as Exhibit N is true copy of the brief filed on behalf of Michael

           Engelberg in the Supreme Court of the State of New York, Appellate Division, Second

           Department, docket no. 2015-5938, in the Engelberg Derivative Litigation.

                  16.     Annexed hereto as Exhibit O are true copies of letters from Jedidiah Perr dated

           July 4, 2011, July 15, 2013, March 24, 2015, April 30, 2014, May 28, 2014, and September 9,

           2014 written on the letterhead of, and signed by Jedidiah Perr on behalf of, the Debtor American

           Center for Civil Justice.

                  17.     Annexed hereto as Exhibit P is a true copy of an order entered March 1, 2018 in

           the Engelberg Derivative Litigation.
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                  I certify that the foregoing statements made by me are true. I am aware that if any of the

           foregoing statements made by me are willfully false, I am subject to punishment.

           Dated: May 8, 2018



                                                                             /s/ Robert J. Tolchin
                                                                      Robert J. Tolchin, Esq.
